                       THE UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

FIESTA MART, LLC,                      §
                                       §
   Plaintiff                           §
                                       §   Hon. Vanessa Gilmore
                  v.                   §
                                       §
WILLIS OF ILLINOIS, INC., WILLIS       §   Civil Action No.: 4:20-CV-03484
TOWERS WATSON US, LLC,                 §
ALLIED WORLD ASSURANCE                 §
COMPANY (U.S.) INC., ARCH              §
SPECIALTY INSURANCE                    §
COMPANY, ASPEN SPECIALTY               §
INSURANCE COMPANY,                     §
CERTAIN UNDERWRITERS AT                §
LLOYD’S OF LONDON (HISCOX),            §
HDI GLOBAL INSURANCE                   §
COMPANY, INDIAN HARBOR                 §
INSURANCE COMPANY, and                 §
WESTPORT INSURANCE                     §
CORPORATION,                           §
                                       §
   Defendants.                         §
                                       §
                  v.                   §
                                       §
ACON INVESTMENTS, L.L.C.               §
                                       §
   Additional Counterclaim Defendant   §
                                       §
                                       §


    ALLIED WORLD ASSURANCE COMPANY (U.S.) INC., ARCH SPECIALTY
 INSURANCE COMPANY, ASPEN SPECIALTY INSURANCE COMPANY, CERTAIN
UNDERWRITERS AT LLOYD’S OF LONDON (HISCOX), HDI GLOBAL INSURANCE
    COMPANY, INDIAN HARBOR INSURANCE COMPANY, AND WESTPORT
                      INSURANCE CORPORATION’S
                  ANSWER AND AFFIRMATIVE DEFENSES
   TO PLAINTIFF’S SECOND AMENDED COMPLAINT AND COUNTERCLAIMS
        The undersigned Counsel of Record, on behalf of Allied World Assurance Company

(U.S.) Inc., Arch Specialty Insurance Company, Aspen Specialty Insurance Company), Certain

Underwriters at Lloyd’s of London (Hiscox), HDI Global Insurance Company, Indian Harbor

Insurance Company, and Westport Insurance Corporation (collectively, the “Insurers”) file this

Answer and Affirmative Defenses to the Second Amended Complaint of Plaintiff Fiesta Mart,

LLC (“Fiesta Mart”).

        1.     The Insurers are without sufficient information to admit or deny the allegations in

Paragraph 1, except admit, based on information and belief, that Fiesta Mart is a supermarket

chain in Houston, Texas.

        2.     The Insurers are without sufficient information to admit or deny the allegations in

Paragraph 2, except admit that that certain Fiesta Mart stores incurred physical damage as a

consequence of Hurricane Harvey in Houston, Texas on or about August 25, 2017.

        3.     The Insurers deny that they owe Fiesta Mart insurance proceeds, deny upon

information and belief that Fiesta Mart’s work to rebuild and reopen stores are related in any way

to Fiesta Mart’s ability to secure insurance proceeds, and are without sufficient information to

admit or deny the remaining allegations in Paragraph 3.

        4.     The allegations in Paragraph 4 are not directed at the Insurers. To the extent a

response is required, the Insurers are without sufficient information to admit or deny the

allegations in Paragraph 4, except admit, based on information and belief, that ACON

Investments, LLC secured insurance policies from the Insurers wherein the “Named Insured”

with respect to Fiesta Mart was “ACON Fiesta Holdings, LLC,” an entity that directly and/or

indirectly owned Fiesta Mart during and/or prior to Hurricane Harvey on or about August 25,

2017.



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        5.      The allegations in Paragraph 5 are not directed at the Insurers. To the extent a

response is required, the Insurers are without sufficient information to admit or deny the

allegations in Paragraph 5.

        6.      The Insurers deny each and every allegation in Paragraph 6, except admit that the

Insurers correctly and properly denied Fiesta Mart’s non-compensable Hurricane Harvey

insurance claim.

                                      Jurisdiction and Venue

        7.      The Insurers deny each and every allegation in Paragraph 7, except admit, based

on information and belief, that Defendants Willis of Illinois, Inc. and Willis Towers Watson US,

LLC (collectively, “Willis”), removed this case from state court on the basis of diversity

jurisdiction.

        8.      Paragraph 8 asserts legal conclusions to which no response is required. To the

extent a response is required, the Insurers do not dispute that venue in this Court is proper.

                                              Parties

        9.      The Insurers are without sufficient information to admit or deny the allegations in

Paragraph 9.

        10.     The Insurers are without sufficient information to admit or deny the allegations in

Paragraph 10.

        11.     The Insurers are without sufficient information to admit or deny the allegations in

Paragraph 11.

        12.     The Insurers deny each and every allegation in Paragraph 12, except admit that

Allied World Assurance Company (U.S.) is a Delaware corporation and the Insurers do not

contest service of process on this entity.



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          13.   The Insurers deny each and every allegation in Paragraph 13, except admit that

Arch Specialty Insurance Company is a Missouri corporation and the Insurers do not contest

service of process on this entity.

          14.   The Insurers deny each and every allegation in Paragraph 14, except admit that

Aspen Specialty Insurance Company is a North Dakota corporation and the Insurers do not

contest service of process on this entity.

          15.   The Insurers deny each and every allegation in Paragraph 15, except admit that

Hiscox Inc. is a New York corporation and the Insurers do not contest service of process on this

entity.

          16.   The Insurers deny each and every allegation in Paragraph 16, except note that

they do not contest service of process on this entity.

          17.   The Insurers deny each and every allegation in Paragraph 17, except admit that

Indian Harbor Insurance Company is a Delaware corporation and the Insurers do not contest

service of process on this entity.

          18.   The Insurers deny each and every allegation in Paragraph 18, except admit that

Westport Insurance Corporation is a Missouri corporation and the Insurers do not contest service

of process on this entity.

                                     Relevant Factual Background

          19.   The Insurers are without sufficient information to admit or deny the allegations in

Paragraph 19.

          20.   The Insurers are without sufficient information to admit or deny the allegations in

Paragraph 20.




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       21.      The Insurers are without sufficient information to admit or deny the allegations in

Paragraph 21.

       22.      The Insurers are without sufficient information to admit or deny the allegations in

Paragraph 22, except admit, based on information and belief, that ACON Investments, LLC

directly or indirectly owned Fiesta Mart during and prior to Hurricane Harvey.

       23.      The Insurers are without sufficient information to admit or deny the allegations in

Paragraph 23, except admit, based on information and belief, that Willis acted as insurance

broker at all relevant times for ACON Investments, LLC.

A.     Willis Becomes Fiesta Mart’s Broker

       24.      The allegations in Paragraph 24 are not directed at the Insurers. To the extent a

response is required, the Insurers are without sufficient information to admit or deny the

allegations in Paragraph 24.

       25.      The allegations in Paragraph 25 are not directed at the Insurers. To the extent a

response is required, the Insurers are without sufficient information to admit or deny the

allegations in Paragraph 25.

       26.      The allegations in Paragraph 26 are not directed at the Insurers. To the extent a

response is required, the Insurers are without sufficient information to admit or deny the

allegations in Paragraph 26.

       27.      The allegations in Paragraph 27 are not directed at the Insurers. To the extent a

response is required, the Insurers are without sufficient information to admit or deny the

allegations in Paragraph 27.




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       28.      The allegations in Paragraph 28 are not directed at the Insurers. To the extent a

response is required, the Insurers are without sufficient information to admit or deny the

allegations in Paragraph 28.

       29.      The allegations in Paragraph 29 are not directed at the Insurers. To the extent a

response is required, The Insurers are without sufficient information to admit or deny the

allegations in Paragraph 29.

       30.      The allegations in Paragraph 30 are not directed at the Insurers. To the extent a

response is required, the Insurers are without sufficient information to admit or deny the

allegations in Paragraph 30.

       31.      The allegations in Paragraph 31 are not directed at the Insurers. To the extent a

response is required, the Insurers are without sufficient information to admit or deny the

allegations in Paragraph 31.

       32.      The allegations in Paragraph 32 are not directed at the Insurers. To the extent a

response is required, the Insurers are without sufficient information to admit or deny the

allegations in Paragraph 32.

B.     Hurricane Harvey

       33.      The Insurers deny the allegations in Paragraph 33, except admit that, on or about

August 25, 2017, Hurricane Harvey made landfall and damaged property in Houston, including

Fiesta Mart’s store #23.

       34.      The Insurers deny the allegations in Paragraph 34, except admit that Fiesta Mart’s

stores #56 and #10 sustained damage.

       35.      The Insurers are without sufficient information to admit or deny the allegations in

Paragraph 35.



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       36.      The Insurers are without sufficient information to admit or deny the allegations in

Paragraph 36.

C.     The Primary Policies

       37.      The Insurers deny each and every allegation in Paragraph 37, except admit that

Willis secured insurance policies from the Insurers wherein the “Named Insured” with respect to

Fiesta Mart was “ACON Fiesta Holdings, LLC,” an entity that, upon information and belief,

directly and/or indirectly owned Fiesta Mart during and/or prior to Hurricane Harvey, and the

Insurers refer to those policies (Allied World Insurance Company Policy No. 0310-7409-1A,

Arch Specialty Insurance Co. Policy No. ESP 7303053-01, Aspen Specialty Insurance Company

Policy No. PRAGK1017, Hiscox Inc. Policy No. URS2552391.17, HDI Global Insurance

Company Policy No. CPD1488300, Indian Harbor Insurance Company Policy No.

PRO004762901, and Westport Insurance Corporation Policy No NAP 2001214 01, herein, the

“Insurance Policies”) and respectfully refer the Court to their terms and conditions.

       38.      Paragraph 38 asserts legal conclusions to which no response is required. To the

extent a response is required, the Insurers deny each and every allegation in Paragraph 38, except

admit that the Insurers issued the Insurance Policies, and respectfully refer the Court to their

terms and conditions.

       39.      The Insurers deny each and every allegation in Paragraph 39, except admit that

the Insurers issued the Insurance Policies, and respectfully refer the Court to their terms and

conditions.

       40.      The Insurers deny each and every allegation in Paragraph 40, except admit that

the Insurers issued the Insurance Policies, and respectfully refer the Court to their terms and

conditions.



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       41.      The allegations in Paragraph 41 are not directed at the Insurers. To the extent a

response is required, the Insurers are without sufficient information to admit or deny the

allegations in Paragraph 41.

       42.      The Insurers are without sufficient information to admit or deny the allegations in

Paragraph 42.

       43.      The allegations in Paragraph 43 are not directed at the Insurers. To the extent a

response is required, the Insurers are without sufficient information to admit or deny the

allegations in Paragraph 43.

       44.      The allegations in Paragraph 44 are not directed at the Insurers. To the extent a

response is required, the Insurers deny each and every allegation in Paragraph 44, except state

that they are without sufficient information to admit or deny allegations concerning any

assurances made by Willis.

       45.      The Insurers deny each and every allegation in Paragraph 45, except admit that

the Insurers issued the Insurance Policies and respectfully refer the Court to their terms and

conditions.

       46.      The allegations in Paragraph 46 are not directed at the Insurers. To the extent a

response is required, the Insurers are without sufficient information to admit or deny the

allegations in Paragraph 46.

       47.      The Insurers deny each and every allegation in Paragraph 47, except admit that

the Insurers issued the Insurance Policies, and respectfully refer the Court to their terms and

conditions.




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D.     Fiesta Mart Submits the First Proofs of Loss and Willis Ensures that Fiesta Mart is
       Paid the Proceeds

       48.     The Insurers deny each and every allegation in Paragraph 48, except admit that

the Insurers issued the Insurance Policies, and respectfully refer the Court to their terms and

conditions.

       49.     The Insurers deny each and every allegation in Paragraph 49, except admit that

the Insurers issued the Insurance Policies, and respectfully refer the Court to their terms and

conditions.

       50.     The Insurers deny each and every allegation in Paragraph 50, except admit that,

on or about September 28, 2017, Willis submitted to the Insurers First Partial Proofs of Loss on

behalf of “ACON Investments, LLC (ACON Fiesta Holdings, LLC)” as and for its interest in

property of Fiesta Mart that was damaged by Hurricane Harvey; the Insurers otherwise refer to

the First Partial Proofs of Loss for their contents.

       51.     The Insurers deny each and every allegation in Paragraph 51, except admit that,

on or about September 28, 2017, Willis submitted to the Insurers First Partial Proofs of Loss on

behalf of “ACON Investments, LLC (ACON Fiesta Holdings, LLC)” as and for its interest in

property of Fiesta Mart that was damaged by Hurricane Harvey; the Insurers otherwise refer to

the First Partial Proofs of Loss for their contents.

       52.     The allegations in Paragraph 52 are not directed at the Insurers. To the extent a

response is required, the Insurers are without sufficient information to admit or deny the

allegations in Paragraph 52.

       53.     The allegations in Paragraph 53 are not directed at the Insurers. To the extent a

response is required, the Insurers deny each and every allegation in Paragraph 53, except admit

that, in connection with Willis’s submission to the Insurers of First Partial Proofs of Loss on

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behalf of “ACON Investments, LLC (ACON Fiesta Holdings, LLC),” Willis instructed the

Insurers in writing to issue payment to Fiesta Mart.

       54.        The Insurers deny each and every allegation in Paragraph 54, except admit that

the Insurers accepted First Partial Proofs of Loss from Willis on behalf of “ACON Investments,

LLC (ACON Fiesta Holdings, LLC)” as and for its interest in property of Fiesta Mart that was

damaged by Hurricane Harvey; the Insurers otherwise refer to the First Partial Proofs of Loss for

their contents.

       55.        The Insurers deny each and every allegation in Paragraph 55, except admit that

they followed instructions given by Willis on behalf of “ACON Investments, LLC (ACON Fiesta

Holdings, LLC),” including Willis’s written instruction for the Insurers to issue payment to

Fiesta Mart.

E.     Willis Represents that it is on Fiesta Mart’s “Team” to seek Insurance Proceeds for
       Fiesta Mart’s Business Interruption Loss

       56.        The Insurers deny each and every allegation in Paragraph 56, except admit that

Willis pursued a claim for business interruption losses on behalf of “ACON Investments, LLC

(ACON Fiesta Holdings, LLC)” as and for its interest in property of Fiesta Mart that was

damaged by Hurricane Harvey.

       57.        The Insurers deny each and every allegation in Paragraph 57, except admit that

the Insurers issued the Insurance Policies, and respectfully refer the Court to their terms and

conditions.

       58.        Paragraph 58 asserts legal conclusions to which no response is required. To the

extent a response is required, the Insurers deny the allegations in Paragraph 58, except admit that

“ACON Investments, LLC (ACON Fiesta Holdings, LLC)” sustained a loss with respect to its

interest in property of Fiesta Mart that was damaged by Hurricane Harvey.

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       59.     The Insurers are without sufficient information to admit or deny the allegations in

Paragraph 59, except deny these allegations to the extent that they intend to suggest that “ACON

Investments, LLC (ACON Fiesta Holdings, LLC)” did not directly and/or indirectly own Fiesta

Mart at the time of Hurricane Harvey or thereafter.

       60.     The Insurers admit that Matson Driscoll & Damico LLP corresponded with Fiesta

Mart and otherwise deny each and every allegation in Paragraph 60, including any allegation

suggesting that “ACON Investments, LLC (ACON Fiesta Holdings, LLC)” did not directly

and/or indirectly own Fiesta Mart and any allegation suggesting that the Insurers’ consultants did

not act in accord with instructions from ACON and/or ACON’s representatives at Willis.

       61.     The allegations in Paragraph 61 are not directed at the Insurers. To the extent a

response is required, the Insurers are without sufficient information to admit or deny the

allegations in Paragraph 61.

       62.     The allegations in Paragraph 62 are not directed at the Insurers. To the extent a

response is required, the Insurers are without sufficient information to admit or deny the

allegations in Paragraph 62.

F.     ACON Sells Fiesta Mart

       63.     The allegations in Paragraph 63 are not directed at the Insurers. To the extent a

response is required, the Insurers are without sufficient information to admit or deny the

allegations in Paragraph 63.

G.     Willis Directs Fiesta Mart’s Insurance Proceeds to ACON

       64.     The Insurers deny each and every allegation in Paragraph 64, except admit that, in

August 2018, ACON submitted a number of Sworn Statements in Proof of Loss the contents of

which speak for themselves.



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       65.      The Insurers deny each and every allegation in Paragraph 65, except admit that, in

August 2018, ACON submitted a number of Sworn Statements in Proof of Loss the contents of

which speak for themselves.

       66.      The Insurers are without sufficient information to admit or deny the allegations in

Paragraph 66.

       67.      The allegations in Paragraph 67 are not directed at the Insurers. To the extent a

response is required, the Insurers are without sufficient information to admit or deny the

allegations in Paragraph 67.

       68.      The allegations in Paragraph 68 are not directed at the Insurers. To the extent a

response is required, the Insurers are without sufficient information to admit or deny the

allegations in Paragraph 68.

       69.      The allegations in Paragraph 69 are not directed at the Insurers. To the extent a

response is required, the Insurers are without sufficient information to admit or deny the

allegations in Paragraph 69.

       70.      The allegations in Paragraph 70 are not directed at the Insurers. To the extent a

response is required, the Insurers are without sufficient information to admit or deny the

allegations in Paragraph 70.

       71.      The allegations in Paragraph 71 are not directed at the Insurers. To the extent a

response is required, the Insurers are without sufficient information to admit or deny the

allegations in Paragraph 71.

       72.      The allegations in Paragraph 72 are not directed at the Insurers. To the extent a

response is required, the Insurers are without sufficient information to admit or deny the

allegations in Paragraph 72.



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       73.      The allegations in Paragraph 73 are not directed at the Insurers. To the extent a

response is required, the Insurers are without sufficient information to admit or deny the

allegations in Paragraph 73.

       74.      The Insurers deny each and every allegation in Paragraph 74, except admit that, in

late 2018, the Insurers paid a total of $4,780,347 to one or more ACON-owned entities as and for

their losses, measured on an “actual cash value” basis, for the actual cash value of Fiesta Mart

locations that were damaged by Hurricane Harvey.

       75.      The allegations in Paragraph 75 are not directed at the Insurers. To the extent a

response is required, the Insurers are without sufficient information to admit or deny the

allegations in Paragraph 75.

       76.      The allegations in Paragraph 76 are not directed at the Insurers. To the extent a

response is required, the Insurers are without sufficient information to admit or deny the

allegations in Paragraph 76.

       77.      The allegations in Paragraph 77 are not directed at the Insurers. To the extent a

response is required, the Insurers are without sufficient information to admit or deny the

allegations in Paragraph 77.

       78.      The allegations in Paragraph 78 are not directed at the Insurers. To the extent a

response is required, the Insurers are without sufficient information to admit or deny the

allegations in Paragraph 78.

       79.      Paragraph 79 asserts legal conclusions to which no response is required. Further,

the allegations in Paragraph 79 are not directed at the Insurers. To the extent a response is

required, the Insurers are without sufficient information to admit or deny the allegations in

Paragraph 79.



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       80.      Paragraph 80 asserts legal conclusions to which no response is required. Further,

the allegations in Paragraph 80 are not directed at the Insurers. To the extent a response is

required, the Insurers are without sufficient information to admit or deny the allegations in

Paragraph 80.

       81.      The Insurers are without sufficient information to admit or deny the allegations in

Paragraph 81.

       82.      The allegations in Paragraph 82 are not directed at the Insurers. To the extent a

response is required, the Insurers are without sufficient information to admit or deny the

allegations in Paragraph 82, except deny that Insurers owe Fiesta Mart proceeds under the

Insurance Policies, attorneys’ fees, or any other costs or amounts.

H.     Willis Ignores its Insured, Fiesta Mart, as Fiesta Mart Seeks its Assistance for
       Remaining Harvey Loss Coverage

       83.      The allegations in Paragraph 83 are not directed at the Insurers. To the extent a

response is required, the Insurers are without sufficient information to admit or deny the

allegations in Paragraph 83.

       84.      The allegations in Paragraph 84 are not directed at the Insurers. To the extent a

response is required, the Insurers are without sufficient information to admit or deny the

allegations in Paragraph 84.

       85.      The allegations in Paragraph 85 are not directed at the Insurers. To the extent a

response is required, the Insurers are without sufficient information to admit or deny the

allegations in Paragraph 85.

       86.      Paragraph 86 asserts legal conclusions to which no response is required. Further,

the allegations in Paragraph 86 are not directed at the Insurers. To the extent a response is




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required, the Insurers are without sufficient information to admit or deny the allegations in

Paragraph 86.

       87.      Paragraph 87 asserts legal conclusions to which no response is required. Further,

the allegations in Paragraph 87 are not directed at the Insurers. To the extent a response is

required, the Insurers are without sufficient information to admit or deny the allegations in

Paragraph 87.

       88.      The allegations in Paragraph 88 are not directed at the Insurers. To the extent a

response is required, the Insurers are without sufficient information to admit or deny the

allegations in Paragraph 88, except deny that Insurers owe Fiesta Mart proceeds under the

Insurance Policies, attorneys’ fees, or any other costs or amounts.

       89.      The allegations in Paragraph 89 are not directed at the Insurers. To the extent a

response is required, the Insurers are without sufficient information to admit or deny the

allegations in Paragraph 89.

I.     The Insurers Refuse to Compensate Fiesta Mart under the Insurance Policy

       90.      The Insurers deny each and every allegation in Paragraph 90, except admit that

the Insurers issued the Insurance Policies, and respectfully refer the Court to their terms and

conditions.

       91.      The Insurers deny each and every allegation in Paragraph 91, except admit that, in

October 2018, Fiesta Mart sent a letter to the Insurers, the contents of which speak for

themselves.

       92.      The Insurers deny each and every allegation in Paragraph 92, except admit that, in

October 2018, Fiesta Mart sent a letter to the Insurers, the contents of which speak for

themselves.



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       93.      The Insurers deny each and every allegation in Paragraph 93, except admit that, in

October 2018, the Insurers sent a letter to Fiesta Mart, the contents of which speak for

themselves.

       94.      The Insurers deny each and every allegation in Paragraph 94, except admit, based

on information and belief, that Fiesta Mart and ACON entered into a litigation (that did not

include the Insurers) and subsequent mediation (that did not include the Insurers), and that

ACON purported to assign to Fiesta Mart a claim for insurance proceeds “despite ACON’s lack

of any ownership interest in Fiesta Mart at the time” as alleged above.

       95.      The Insurers are without sufficient information to admit or deny the allegations in

Paragraph 95.

       96.      The Insurers deny each and every allegation in Paragraph 96, except admit that

the respective legal counsel for the Insurers, Fiesta Mart, and ACON engaged in settlement

discussions subject to a White waiver agreement (a without prejudice/confidentiality agreement)

that protects the contents of such discussions from public disclosure through pleadings or

otherwise.

       97.      The Insurers deny each and every allegation in Paragraph 97, except admit that

the respective legal counsel for the Insurers, Fiesta Mart, and ACON engaged in settlement

discussions subject to a White waiver agreement that protects the contents of such discussions

from public disclosure through pleadings or otherwise. Many if not all allegations set forth in

Paragraph 97 breach the terms of the White waiver agreement, as well as mischaracterize the

protected communications.




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          98.    The Insurers deny each and every allegation in Paragraph 98. Many if not all

allegations set forth in Paragraph 98 breach the terms of the White waiver agreement, as well as

mischaracterize the protected communications.

          99.    The Insurers deny each and every allegation in Paragraph 99, except admit that

the Insurers and ACON engaged in settlement discussions subject to a White waiver agreement

that protects the contents of such discussions from public disclosure through pleadings or

otherwise. Many if not all allegations set forth in Paragraph 99 breach the terms of the White

waiver agreement, as well as mischaracterize the protected communications.

          100.   The Insurers are without sufficient information to admit or deny the allegations in

Paragraph 100.

          101.   The Insurers deny each and every allegation in Paragraph 101, except admit that,

in September of 2020, Fiesta Mart sent a letter to the Insurers, the contents of which speak for

themselves.

          102.   The Insurers deny each and every allegation in Paragraph 102, except admit that

the Insurers sent Fiesta Mart a response letter, the contents of which speak for themselves.

          103.   The Insurers deny each and every allegation in Paragraph 103.

                                      First Cause of Action
                 (Violation of Tex. Ins. Code §§ 541.051 and 541.061 by Willis)

          104.   Paragraph 104 requires no response. To the extent a response is required, the

Insurers repeat and re-allege their responses to the preceding paragraphs as if set forth fully

herein.

          105.   Paragraph 105 requires no response. To the extent a response is required, the

Insurers are without sufficient information to admit or deny the allegations in Paragraph 105.




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          106.   Paragraph 106 requires no response. To the extent a response is required, the

Insurers are without sufficient information to admit or deny the allegations in Paragraph 106.

          107.   Paragraph 107 requires no response. To the extent a response is required, the

Insurers are without sufficient information to admit or deny the allegations in Paragraph 107.

          108.   Paragraph 108 requires no response. To the extent a response is required, the

Insurers are without sufficient information to admit or deny the allegations in Paragraph 108.

          109.   Paragraph 109 requires no response. To the extent a response is required, the

Insurers are without sufficient information to admit or deny the allegations in Paragraph 109.

          110.   Paragraph 110 requires no response. To the extent a response is required, the

Insurers are without sufficient information to admit or deny the allegations in Paragraph 110.

                                    Second Cause of Action
                                 (Breach of Contract by Willis)

          111.   Paragraph 111 requires no response. To the extent a response is required, the

Insurers repeat and re-allege their responses to the preceding paragraphs as if set forth fully

herein.

          112.   Paragraph 112 requires no response. To the extent a response is required, the

Insurers are without sufficient information to admit or deny the allegations in Paragraph 112.

          113.   Paragraph 113 requires no response. To the extent a response is required, the

Insurers are without sufficient information to admit or deny the allegations in Paragraph 113.

          114.   Paragraph 114 requires no response. To the extent a response is required, the

Insurers are without sufficient information to admit or deny the allegations in Paragraph 114.

          115.   Paragraph 115 requires no response. To the extent a response is required, the

Insurers are without sufficient information to admit or deny the allegations in Paragraph 115.




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                                    Third Cause of Action
                       (Negligence/Negligent Misrepresentation by Willis)

          116.   Paragraph 116 requires no response. To the extent a response is required, the

Insurers repeat and re-allege their responses to the preceding paragraphs as if set forth fully

herein.

          117.   Paragraph 117 requires no response. To the extent a response is required, the

Insurers are without sufficient information to admit or deny the allegations in Paragraph 117.

          118.   Paragraph 118 requires no response. To the extent a response is required, the

Insurers are without sufficient information to admit or deny the allegations in Paragraph 118.

          119.   Paragraph 119 requires no response. To the extent a response is required, the

Insurers are without sufficient information to admit or deny the allegations in Paragraph 119.

          120.   Paragraph 120 requires no response. To the extent a response is required, the

Insurers are without sufficient information to admit or deny the allegations in Paragraph 120.

          121.   Paragraph 121 requires no response. To the extent a response is required, the

Insurers are without sufficient information to admit or deny the allegations in Paragraph 121.

                                     Fourth Cause of Action
                               (Breach of Contract by the Insurers)

          122.   In response to Paragraph 122, the Insurers repeat and re-allege their responses to

the preceding paragraphs as if set forth fully herein.

          123.   The Insurers deny each and every allegation in Paragraph 123.

          124.   The Insurers deny each and every allegation in Paragraph 124.

          125.   The Insurers deny each and every allegation in Paragraph 125.




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                                 Attorney Fees and Expenses

       126.    Paragraph 126 asserts legal conclusions to which no response is required. To the

extent a response is required, the Insurers deny each and every allegation in Paragraph 126.

                                     Conditions Precedent

       127.    Paragraph 127 asserts legal conclusions to which no response is required. To the

extent a response is required, the Insurers deny each and every allegation in Paragraph 127.

                                         Jury Demand

       128.    Paragraph 128 requires no response.




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                                   AFFIRMATIVE DEFENSES

The Insurers allege as follows as and for their affirmative defenses to Fiesta Mart’s First

Amended Complaint.

                                     First Affirmative Defense

        1.      The First Amended Complaint fails to state a claim upon which relief can be

granted.

                                    Second Affirmative Defense

        2.      Fiesta Mart’s claims may be barred or limited by the doctrine of accord and

satisfaction.

                                    Third Affirmative Defense

        3.      Fiesta Mart’s claim is barred, either in whole or in part, because the Insurers did

not proximately cause Fiesta Mart to suffer any damages and Fiesta Mart’s damages (if any)

were caused by Fiesta Mart’s own actions or the actions of others for which the Insurers are not

responsible.

                                    Fourth Affirmative Defense

        4.      Fiesta Mart has no legal right to recover attorneys’ fees, costs of suit, penalties,

punitive damages, or exemplary damages. The Insurers deny that they are obligated for the fees

and/or costs set forth in Tex. Civ. Prac. & Rem. Code §38.001, et. seq., as awarding such costs and/or

fees is not reasonable or just by virtue of the absence of damages.

                                     Fifth Affirmative Defense

        5.      Fiesta Mart’s claim may be barred by the doctrines of waiver, laches, unclean

hands, and estoppel.



                                                  21
                                   Sixth Affirmative Defense

       6.      Fiesta Mart failed to provide written notice to the Insurers in accordance with

Texas Insurance Code §§ 541, 542, and 542A.

                                 Seventh Affirmative Defense

       7.      Fiesta Mart’s claims are barred because Plaintiff Fiesta Mart is neither the

“Insured” nor an intended third-party beneficiary of the Insurance Policies.

       8.      Moreover, under the Insurance Policies, the issuance of Certificates of Insurance

is “subject always to” the terms of the Insurance Policies, and such terms prevent Plaintiff Fiesta

Mart from being declared the “Named Insured.”

       9.      Additionally, the doctrines of estoppel and/or unclean hands and/or laches bar

Fiesta Mart from claiming to have designated an “additional insured” under the Insurance

Policies.

                                  Eighth Affirmative Defense

       10.     Fiesta Mart’s claims are barred because they rely on the validity of a purported

assignment of a right to a certain type of insurance proceeds from ACON, and ACON did not

possess any such right at the time of the purported assignment.

       11.     To the extent Fiesta Mart accepted a purported assignment from ACON despite

Fiesta Mart’s actual knowledge that ACON did not have any such right to assign, Fiesta Mart’s

claims: amount to a misrepresentation; are barred by Fiesta Mart’s own unclean hands; are

otherwise barred; and Fiesta Mart should be judicially estopped or otherwise estopped from

asserting the validity of any such assignment.




                                                 22
                                    Ninth Affirmative Defense

       12.     To the extent Fiesta Mart is in breach of its White waiver obligations with respect

to the disclosure of the contents settlement discussions, the “at issue” doctrine prevents, estops,

and/or otherwise bars Fiesta Mart from using such discussions as both a sword and a shield, and

Fiesta Mart therefore cannot shield from this Court the fact or implications of Fiesta Mart’s

actual knowledge and belief that ACON did not have a valid assignable right to the insurance

proceeds at issue at the time that Fiesta Mart accepted such assignment anyway.

                                    Tenth Affirmative Defense

       13.     Even if Fiesta Mart were the “Insured” under the Insurance Policies, Fiesta Mart’s

claims still would be barred to the extent that Fiesta Mart has failed to satisfy conditions

precedent to coverage under the Insurance Policies, or any other such coverage

triggers/requirements.

                                  Eleventh Affirmative Defense

       14.     Even if Fiesta Mart were the “Insured” under the Insurance Policies, Fiesta Mart’s

claims still would be subject to the terms and conditions of the Insurance Policies, including, but

not limited to, the limits of liability, deductibles, exclusions, limitations and endorsements.

       15.     For example, and without limitation, Fiesta Mart failed to act with “due diligence

and dispatch” to rebuild or repair the property at issue. That failure was not attributable to the

Insurers’ non-payment and, even if it were, the Insurers had no duty to pay for such expenses on

any date before they were actually incurred.

                                   Twelfth Affirmative Defense

       16.     To the extent Fiesta Mart’s claimed damages were not caused by Hurricane

Harvey, there is no coverage under the Insurance Policies.


                                                 23
                                Thirteenth Affirmative Defense

       17.     Fiesta Mart’s claims are barred in whole or in part by Fiesta Mart’s failure to take

reasonable measures to mitigate, minimize, or avoid damages.

                                Fourteenth Affirmative Defense

       18.     Fiesta Mart’s claim is barred to the extent it seeks recovery for damage to

property that is not covered under the Insurance Policies.

                                 Fifteenth Affirmative Defense.

       19.     Any recovery by Fiesta Mart is subject to setoff or reduction to the extent

amounts have already been paid by the Insurers.

                                 Sixteenth Affirmative Defense

       20.     Any recovery by Fiesta Mart is subject to setoff or reduction to the extent Fiesta

Mart’s losses were indemnifiable under any other insurance policy.

                               Seventeenth Affirmative Defense

       21.     The Insurance Policies contain the following text that may serve to limit the

amount of any potential recovery by Fiesta Mart:

               10.    PROPERTY VALUATION - The basis of loss adjustment
                      shall be as follows:

               ***

               h)     Other property not otherwise provided for; at replacement
                      cost new without deduction for depreciation. If the property
                      is not repaired, rebuilt or replaced with similar property on
                      the same or another site, the Company shall not be liable
                      for more than the actual cash value of the property
                      damaged or destroyed. Loss settlement on a replacement
                      cost basis shall include Architect and Engineering Fees to
                      the extent incurred as a result of a loss which would be
                      payable under this policy and shall be subject to the
                      following provisions:

                                                24
                       i)      The repairs, replacement or reinstatement must be
                               executed with due diligence and dispatch.

                                Eighteenth Affirmative Defense

       22.     Each of the Insurers severally provided quota share subscriptions for the

Insurance Policies at issue.

       23.     The Insurance Policies’ Participation Endorsement states in relevant part:

                       In consideration of the premium charged, the subscribers
                       hereto, hereinafter referred to as the Insurer(s) and/or
                       Company(ies), do severally, but not jointly, agree to
                       indemnify the Insured for the amount recoverable in
                       accordance with the terms and conditions of the Policy.

                       Provided that:

               1.      The collective liability of Insurer(s) shall not exceed the
                       Limit of Liability or any appropriate Sublimit of Liability
                       or any Annual Aggregate limit.

               2.      The liability of each of the Insurer(s) shall not exceed the
                       Participation Limit set against its name.

                       Nothing herein contained shall be held to vary, alter, waive
                       or change any of the terms, limits or conditions of the
                       policy except as herein above set forth.

       24.     Each Insurer’s respective liability is limited by the Participation Limit set against

its name.

                                Nineteenth Affirmative Defense

       25.     The Insurers reserve the right to raise additional affirmative defense upon

discovery of further information regarding Fiesta Mart’s claim.




                                                25
                                       COUNTERCLAIMS

       1.      The Insurers bring these counterclaims seeking relief against Fiesta Mart and

Additional Counterclaim-Defendant, ACON Investments, LLC (“ACON”).

       2.      These counterclaims seek a declaration that the portion of the assignment

agreement entered into between ACON and Fiesta Mart regarding certain insurance proceeds is

invalid, or alternatively, unenforceable against the Insurers.

       3.      These counterclaims also seek a declaration that Fiesta Mart is not an insured

under the Insurance Policies.

       4.      These counterclaims also seek a declaration that Fiesta Mart has not performed

repairs to its stores with “due diligence and dispatch,” a condition precedent to coverage under

the Insurance Policies.

                                              Parties

       5.      Allied World Assurance Company (U.S.) Inc. is a Delaware corporation with a

principal place of business in New York, New York.

       6.      Arch Specialty Insurance Company a Missouri corporation with a principal place

of business in Jersey City, New Jersey.

       7.      Aspen Specialty Insurance Company is a North Dakota corporation with a

principal place of business in Rocky Hill, Connecticut.

       8.      Certain Underwriters At Lloyd’s Of London (Hiscox) is a Delaware corporation

with a principal place of business in New York, New York.

       9.      HDI Global Insurance Company is an Illinois corporation with a principal place

of business in Chicago, Illinois.

       10.     Indian Harbor Insurance Company is a Delaware corporation with a principal

place of business in Stamford, Connecticut.

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       11.     Westport Insurance Corporation is a Missouri corporation with a principal place

of business in Kansas City, Missouri.

       12.     Fiesta Mart is a Texas Limited Liability Company with its principal place of business

in Houston, Texas.

       13.     ACON is a Delaware Limited Liability Company with its principal place of

business in Washington, D.C.

       14.     Upon information and belief, ACON has only three members, all of whom are

natural persons domiciled in Maryland.

                                     Jurisdiction and Venue

       15.     The Court has subject matter jurisdiction because Defendant Willis removed this

case from State court on the basis of diversity jurisdiction.

       16.     The Court has personal jurisdiction over ACON because ACON has conducted

business (including in relation to the matters in dispute here), and continues to conduct business,

in the state of Texas.

       17.     The Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1367, as well as

Rules 13, 19, and 20 of the Federal Rules of Civil Procedure.

       18.     Venue is proper in this District because a substantial part of the events giving rise

to the claims occurred here and this District is where the properties at issue in this lawsuit are

located.

       19.     Venue is also proper because, upon information and belief, Fiesta Mart is

headquartered in Harris County, Texas.

                                  Relevant Factual Background

A.     The Insurance Policies

       20.     Fiesta Mart is a supermarket chain in Houston, Texas.

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       21.     ACON is a private equity firm with investments in a diverse set of businesses.

       22.     Upon information and belief, through affiliated entities, including Fiesta Holdings

Investments, LLC, formerly ACON Fiesta Holdings LLC (“Fiesta Holdings”), ACON owned

Fiesta Mart until on or about March 23, 2018, when it was sold to Bodega Latina Corporation

(“Bodega”).

       23.     ACON maintained a program of property insurance policies in which the Insurers

severally participated for the policy period of June 1, 2017 to June 1, 2018.

       24.     The Insurance Policies define the “Insured” as:

                        NAMED INSURED - This policy does insure ACON
                       Investments, LLC and as per the attached endorsement
                       schedule, any subsidiary, associated, allied or affiliated
                       company, corporation, firm, organization, partnership, Joint
                       Venture, Limited Liability Company or individual, whether
                       wholly or partially owned or controlled by the Insured,
                       where the Insured maintains an interest, or where the
                       Insured is required to provide insurance, as now exist or are
                       hereafter constituted or acquired, and any other party in
                       interest that is required by contract or other agreement to be
                       named, all hereafter referred to as the “Insured”.

       25.     Endorsement A1 to the Insurance Policies provides:

                       With respects to the entity of, Fiesta Mart, the following
                       terms and conditions shall apply:

                       A.     Named Insured – ACON Fiesta Holdings, LLC

       26.     The Insurance Policies also provide that any loss shall be “payable to the Insured,

or as directed by them.”

       27.     The Insurance Policies’ Endorsements did not designate, as an Insured, any

“Fiesta” entity other than ACON Fiesta Holdings, LLC.

       28.     Fiesta Mart, LLC is not listed as a named insured under the Insurance Policies.




                                                28
B.        Hurricane Harvey

          29.   On or about August 25, 2017, certain Fiesta Mart stores incurred physical damage

as a consequence of Hurricane Harvey in Houston, Texas.

          30.   Upon information and belief, with the exception of two stores, the physical

damage to all Fiesta Mart stores was repaired by March 2018.

          31.   The remaining stores are store numbers 56 and 10.

          32.   Upon information and belief, Fiesta Mart Store Numbers 56 and 10 remain

closed.

          33.   Upon information and belief, Fiesta Mart Store Number 23 reopened on or about

October 4, 2017.

C.        The Two Proofs of Loss

          34.   On or about September 28, 2017, Willis submitted to the Insurers First Partial

Proofs of Loss (the “First Proofs”) on behalf of “ACON Investments, LLC (ACON Fiesta

Holdings, LLC)” as and for the insurable interest in property of Fiesta Mart that was damaged by

Hurricane Harvey.

          35.   Upon information and belief, Willis did so at ACON’s direction.

          36.   Upon information and belief, ACON instructed Willis to instruct the Insurers to

issue payment to Fiesta Mart.

          37.   On ACON’s behalf, Willis did so, in writing.

          38.   This first payment, issued by the Insurers to Fiesta Mart, totaled $7.5 million.

          39.   In or about August 2018, ACON submitted signed and notarized Second Partial

Proofs of Loss (the “Second Proofs”) claiming $4,780,347 (after a $250,000 deductible) in

additional property damage.



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       40.    The Second Proofs were also submitted on behalf of “ACON Investments, LLC

(ACON Fiesta Holdings, LLC)” as the Insured.

       41.    ACON instructed the Insurers to issue payment for the Second Proofs to a Wells

Fargo bank account with the account name “Fiesta Holdings Investments, L.L.C.”

       42.    Upon information and belief, Fiesta Holdings Investments, L.L.C. was formerly

named ACON Fiesta Holdings, L.L.C.

       43.    Willis also instructed the Insurers to issue payment for the Second Proofs to

ACON, because “ACON Investments is the Named Insured per the policy [and] there have been

no requests from ACON to add an additional Insured or change the Named Insured as respects to

Fiesta.”

       44.    Therefore, in response to the Second Proofs, the Insurers paid over $4 million to

one or more ACON-owned entities as and for their property damage-related losses.

D.     ACON Sells Fiesta Mart

       45.    Upon information and belief, on or about March 23, 2018, ACON entered a

Membership Interest Purchase Agreement (“MIPA”) with Bodega Latina Corporation.

       46.    Upon information and belief, under the MIPA, ACON sold its interests in Fiesta

Mart, LLC to Bodega.

       47.    Upon information and belief, ACON Fiesta Holdings, LLC – the Insured

specified in the Insurance Policies with respect to Fiesta Mart – was not transferred to Bodega

pursuant to the MIPA.

       48.    Upon information and belief, neither the proceeds nor claims to the proceeds paid

for the losses resulting from Hurricane Harvey were conveyed to Bodega pursuant to the MIPA.




                                               30
        49.    Consequently, and upon information and belief, when ACON sold Fiesta Mart to

Bodega, no previously-paid insurance proceeds for Harvey-related damage were included in the

sale.

        50.    Similarly, when ACON sold Fiesta Mart to Bodega, it did not assign to Fiesta

Mart the right to collect any prospective insurance proceeds for Harvey-related damage.

        51.    Upon information and belief, the MIPA disclosed the damage caused by

Hurricane Harvey on Fiesta Mart stores and business.

        52.    Specifically, upon information and belief, the MIPA disclosed that two stores

were closed, the expectation that one would reopen, and that the impact of Hurricane Harvey on

the other store was disputed by Fiesta Mart’s landlord.

        53.    The MIPA stated:

                      Except with respect to the closing of Stores 10 and 56, the
                      physical destruction to real and personal property has been
                      repaired so that the Fiesta Improvements damaged by
                      Hurricane Harvey are in all material respects: (i) in good
                      operating condition and repair (ordinary wear and tear
                      excepted) and (ii) suitable and adequate for continued use
                      in the manner in which they are presently being used. The
                      applicable Fiesta Group Company intends to reduce the
                      size of Store No. 10 to approximately 60,000 square feet
                      (from 102,400 square feet) and intends to sublease the
                      remaining space. Fiesta Mart, L.L.C. entered into a non-
                      binding letter of intent, dated October 11, 2017, with
                      Dream Right, L.L.C. in regards to the proposed subleasing
                      of such remaining space.

                      ***

                      Store No. 10 is currently closed due to damage from
                      Hurricane Harvey and is expected to reopen in August or
                      September of 2018. Fiesta Mart, L.L.C. intends to reduce
                      the size of the grocery store to approximately 60,000 square
                      feet (from 102,400 square feet) and intends to sublease the
                      remaining space.



                                               31
                       With regard to Store No. 56, the applicable Fiesta Group
                       Company is in a dispute with its landlord as to the impact
                       of Hurricane Harvey on the store, including whether the
                       lease was terminated by virtue of the Hurricane and who
                       has the financial obligation to restore the premises under
                       the Lease. The parties are currently working to resolve this
                       matter which may include a re-location of this store.

          54.   Thus, when ACON sold Fiesta Mart to Bodega, Fiesta Mart and ACON agreed

that the only remaining unrepaired damage was to Store Numbers 10 and 56.

E.        ACON Sues Fiesta Mart

          55.   On or about November 26, 2020, Fiesta Mart sued ACON in state court in Harris

County, Texas, seeking, inter alia, the money ACON collected after submitting the Second

Proofs.

          56.   ACON then removed the lawsuit to federal court.

          57.   On or about February 14, 2020, almost two years after ACON sold Fiesta Mart to

Bodega, ACON and Fiesta Mart settled their dispute.

          58.   On or about February 14, 2020, ACON assigned to Fiesta Mart certain purported

rights under the Insurance Policies through an Assignment Agreement.

          59.   The Insurers did not sign the Assignment Agreement.

          60.   The Insurers never consented to this assignment in any manner.

          61.   Upon information and belief, when ACON assigned Fiesta Mart these rights, it

had no ownership interest in Fiesta Mart.

          62.   Following ACON’s sale of Fiesta Mart to Bodega, ACON could no longer incur

repair costs in excess of ACV for which it would be compensated,

          63.   Following ACON’s sale of Fiesta Mart to Bodega, ACON could no longer assign

any insurance proceeds that were not already incurred by Fiesta Mart.



                                                32
       64.     Upon information and belief, when ACON sold Fiesta Mart to Bodega, ACON

had not incurred costs to repair physical damage in excess of the sums claimed in the First and

Second Proofs.

       65.     Upon information and belief, when ACON sold Fiesta Mart to Bodega, Fiesta

Mart had not incurred costs to repair physical damage in excess of the sums claimed in the First

and Second Proofs.

       66.     Upon information and belief, when ACON entered into the Assignment

Agreement with Fiesta Mart, Fiesta Mart had not incurred costs to repair physical damage in

excess of the sums claimed in the First and Second Proofs.

       67.     Upon information and belief, when ACON entered into the Assignment

Agreement with Fiesta Mart, ACON had not incurred costs to repair physical damage in excess

of the sums claimed in the First and Second Proofs.

       68.     On or about February 21, 2020, Fiesta Mart’s suit against ACON was dismissed.

F.     Fiesta Mart Approaches the Insurers

       69.     During the pendency of the ACON/Fiesta Mart lawsuit, the Insurers’ legal

counsel was approached by respective legal counsel for ACON and Fiesta Mart to discuss any

further proceeds potentially owed to either ACON or Fiesta Mart.

       70.     Many of these conversations between legal counsel were held as settlement

discussions subject to a written confidentiality agreement.

       71.     Many of the allegations made by Fiesta Mart against Insurers in this lawsuit

breach the terms of that confidentiality agreement.

       72.     The Insurers’ above-referenced payments in response to the First and Second

Proofs were for the “actual cash value” of ACON’s Fiesta Mart-related losses.



                                                33
       73.     Fiesta Mart sought further monies, in the form of “depreciation holdback” (i.e. the

difference between actual cash value and replacement cost value) from the Insurers.

       74.     The Insurance Policies provide, in relevant part:

                       10.    PROPERTY VALUATION - The basis of loss
                              adjustment shall be as follows:

                       ***

                       h)     Other property not otherwise provided for; at
                              replacement cost new without deduction for
                              depreciation. If the property is not repaired, rebuilt
                              or replaced with similar property on the same or
                              another site, the Company shall not be liable for
                              more than the actual cash value of the property
                              damaged or destroyed. Loss settlement on a
                              replacement cost basis shall include Architect and
                              Engineering Fees to the extent incurred as a result
                              of a loss which would be payable under this policy
                              and shall be subject to the following provisions:

                       ***

                       i)     The repairs, replacement or reinstatement must be
                              executed with due diligence and dispatch.

                       ***

       75.     Upon information and belief, ACON has not incurred costs to repair physical

damage in excess of the actual cash value of its losses.

       76.     Upon information and belief, Fiesta Mart has not incurred costs to repair physical

damage in excess of the actual cash value of its losses.

       77.     To the extent the alleged damage to certain Fiesta Mart stores have not yet been

repaired, at this point, over three years after Hurricane Harvey, the Insurance Policies’

contractual requirement of acting with “due diligence and dispatch” to repair physical damage

has long since passed, cannot be met, and any alleged costs are no longer compensable.



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                                     CAUSES OF ACTION

                                          Count I
                 (Declaratory Judgment that ACON’s Assignment was Invalid)

        78.     The Insurers reallege the material facts alleged in the preceding paragraphs 1 – 77

as if set forth fully herein.

        79.     The Insurers seek a declaration by this Court of the rights of the Insurers and

obligations of ACON under their contractual agreements.

        80.     An actual and justiciable controversy exists between Fiesta Mart, ACON and the

Insurers concerning the matters herein.

        81.     The Insurers seek a judicial declaration confirming that ACON’s assignment to

Fiesta Mart of its purported right to depreciation holdback proceeds under the Insurance Policies

was invalid, or alternatively, unenforceable against the Insurers.

        82.     Declaratory relief by this Court will terminate some or all of the existing

controversy between the parties.

                                       Count II
  (Declaratory Judgment that Fiesta Mart is not an Insured under the Insurance Policies)

        83.     The Insurers reallege the material facts alleged in the preceding paragraphs 1 – 82

as if set forth fully herein.

        84.     The Insurers seek a declaration by this Court regarding the Insurers’ contractual

obligations under the Insurance Policies to ACON, their Insured, and not Fiesta Mart.

        85.     An actual and justiciable controversy exists between Fiesta Mart and the Insurers

on the other hand concerning the matters herein.

        86.     The Insurers seek a judicial declaration confirming that Fiesta Mart is not an

insured under the Insurance Policies.



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        87.     Declaratory relief by this Court will terminate some or all of the existing

controversy between the parties.

                                        Count III
     (Declaratory Judgment that Fiesta Mart Failed to use Due Diligence and Dispatch)

        88.     The Insurers reallege the material facts alleged in the preceding paragraphs 1 – 87

as if set forth fully herein.

        89.      To the extent alleged damaged at certain Fiesta Mart stores listed under the

Insurance Policies have not yet been repaired, at this point, over three years after Hurricane

Harvey, the Insurance Policies’ contractual requirement of acting with “due diligence and

dispatch” period has long since passed, cannot be met, and any alleged costs are no longer

compensable.

        90.     An actual and justiciable controversy exists between Fiesta Mart and the Insurers

concerning the matters herein.

        91.     The Insurers seek a judicial declaration that if Fiesta Mart has been determined to

be an Insured under the Insurance Policies, that Fiesta Mart did not exercise “due diligence and

dispatch,” and is not entitled to any compensation under the Insurance Policies.

        92.     Declaratory relief by this Court will terminate some or all of the existing

controversy between the parties.




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WHEREFORE, the Insurers demand judgment as follows:

   A. That Fiesta Mart take nothing;

   B. Dismissing the Second Amended Complaint with prejudice;

   C. Awarding the Insurers their costs and attorneys’ fees;

   D. On Count I of the Counterclaim, Declaring the assignment agreement between

      ACON and Fiesta Mart invalid;

   E. On Count II of the Counterclaim, Declaring that Fiesta Mart is not an Insured

      under the Insurance Policies;

   F. On Count III of the Counterclaim, Declaring that Fiesta Mart failed to use due

      diligence and dispatch in repairing its Harvey-related losses; and

   G. and awarding the Insurers such other or further relief as the Court deems just and

      proper.



                                            Respectfully submitted,

                                            By: /s/ Dustin L. DuBose

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                                                        (Hiscox), HDI Global Insurance Company,
                                                        Indian Harbor Insurance Company, and
                                                        Westport Insurance Corporation

                                   CERTIFICATE OF SERVICE

I certify that on April 19, 2021, the foregoing was served by email and/or by electronic filing service
on all counsel of record.
                                                                       /s/ Dustin L. DuBose
                                                                       Dustin L. DuBose




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